     Case 4:22-cv-00304-MW-MAF      Document 193      Filed 01/24/25   Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION
LEROY PERNELL, et al.,

        Plaintiffs,

v.                                                Case No.: 4:22-cv-304-MW-MAF
BRIAN LAMB, et al.,

        Defendants.

                                              /

     STIPULATION OF DISMISSAL OF PLAINTIFF DANA THOMPSON
     DORSEY AND BOARD OF TRUSTEES FOR THE UNIVERSITY OF
                        SOUTH FLORIDA
       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all

parties in this case stipulate to the voluntary dismissal of Plaintiff Dana Thompson

Dorsey and her claims against William Weatherford, Michael E. Griffin, Sandra

Callahan, Michael Carrere, N. Rogan Donnelly, Oscar Horton, Jenifer Jasinski

Schneider, Lauran Monbarren, Cesar Esmeraldi, Shilen Patel, Fredrick Piccolo, and

Melissa Seixas, each in their official capacity as a member of the University of South

Florida Board of Trustees with prejudice.


                           [continued on following page]
   Case 4:22-cv-00304-MW-MAF        Document 193    Filed 01/24/25   Page 2 of 4




      Ms. Thompson Dorsey and the University of South Florida Board of Trustees

agree to pay their own costs and attorneys’ fees.


AMERICAN CIVIL LIBERTIES                  AMERICAN CIVIL LIBERTIES
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/s/ Jerry Edwards                         Leah Watson*
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   Case 4:22-cv-00304-MW-MAF          Document 193   Filed 01/24/25   Page 3 of 4




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Defendants Brian Lamb, et al., in their
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University System

Manny Diaz Jr., in his official capacity
as the Commissioner of the Florida
Board of Education

Morteza Hosseini, et al., in their official
capacities as members of the University
of Florida Board of Trustees

William Weatherford, et al., in their
official capacities as members of the
University of South Florida Board of
Trustees

Kevin Lawson, et al., in their official
capacities as members of Florida A&M
Board of Trustees

Peter Collins, et al., in their official
capacities as members of the Florida
State University Board of Trustees

Alex Martins, et al., in their official
capacities as members of the University
of Central Florida Board of Trustees

Counsel for Defendants


                                              3
   Case 4:22-cv-00304-MW-MAF        Document 193      Filed 01/24/25    Page 4 of 4




                         CERTIFICATE OF SERVICE
      I hereby certify that on this 24th day of January 2025, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served on all counsel of record via transmission of

Notices of Electronic Filing generated by CM/ECF.


                                                     /s/ Leah Watson___
                                                     Leah Watson




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